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13

14                                 UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                         SAN JOSE DIVISION

17    O’KEEFFE’S, INC.,                               CASE NO.: C 07-cv-03535 JF PVT
18                          Plaintiff,                (PROPOSED) ORDER GRANTING
                                                      PLAINTIFF O’KEEFFE’S INC.’S
19             v.                                     MOTION TO DISMISS THE SEVENTH
                                                      AND EIGHTH COUNTERCLAIMS OF
20    TECHNICAL GLASS PRODUCTS,                       DEFENDANT TECHNICAL GLASS
      ANEMOSTAT, and PILKINGTON PLC,                  PRODUCTS’ SUPPLEMENTAL AND
21                                                    AMENDED COUNTERCLAIMS
                            Defendants.
22                                                    Date: July 18, 2008
                                                      Time: 9:00 a.m.
23                                                    Before the Honorable Jeremy Fogel
24
      AND RELATED COUNTERCLAIMS.
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                                                              (Proposed) Order Granting Motion to Dismiss
      SFI-582526v1
                                                                            Case No. 07 cv-03535 JF PVT
     Case 5:07-cv-03535-JF        Document 107-2         Filed 04/24/2008      Page 2 of 2



 1             The Motion to Dismiss of O’Keeffe’s, Inc. (“O’Keeffe’s”) was regularly heard and duly
 2    considered by this Court on July 18, 2008. Based on the papers filed in support of and opposition
 3    to the motion, and oral argument thereon,
 4             IT IS HEREBY ORDERED THAT:
 5             The Court GRANTS O’Keeffe’s’ Motion to Dismiss the Seventh and Eighth
 6    Counterclaims of Defendant Technical Glass Products’ Supplemental and Amended
 7    Counterclaims pursuant to Federal Rule of Civil Procedure 12(b)(1).
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 9    Dated: ______________________
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                                                   By:
11                                                              Honorable Jeremy Fogel
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                                                               (Proposed) Order Granting Motion to Dismiss
      SFI-582526v1                                   2                       Case No. 07 cv-03535 JF PVT
